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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

TYRANIKA JOHNSON,                               )    Civil Action No.:    2:18-cv-4886
                                                )
       Plaintiff,                               )    Division:
                                                )
       v.                                       )    Section:
                                                )
WELLS FARGO BANK, N.A,.                         )    Judge:
                                                )
       Defendant.                               )    Magistrate Judge:

                                PLAINTIFF’S COMPLAINT

       Plaintiff, TYRANIKA JOHNSON (“Plaintiff”) files this lawsuit for damages, and other

legal and equitable remedies, resulting from the illegal actions of Defendant, WELLS FARGO

BANK, N.A. (“Defendant”), in negligently, knowingly, and/or willfully contacting Plaintiff on

Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection Act, 47 U.S.C. §

227 et seq. ("TCPA").

                               JURISDICTION AND VENUE

   1. Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 as Plaintiff’s claims arise

       under the laws of the United States.

   2. This Court has federal question jurisdiction because this case arises out of violations of

       federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

   3. Defendant conducts business in Gramercy, St. James Parish, Louisiana.

   4. Venue and personal jurisdiction in this District are proper because Defendant transacts

       business in this District, and a material portion of the events at issue occurred in this

       District.



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                                        PARTIES

5. Plaintiff is a resident of Gramercy, St. James Parish, Louisiana.

6. Defendant is headquartered in San Francisco, San Francisco County, California.

                               FACTUAL ALLEGATIONS

7. Within the past four year of Plaintiff filing this Complaint, Defendant began calling

   Plaintiff’s cellular telephone number, ending in 7094.

8. All of the telephone calls Defendant made to Plaintiff were an attempt to collect on an

   account that was fraudulently opened in Plaintiff’s name.

9. None of the calls Defendant made to Plaintiff were for an emergency purpose.

10. Since Defendant began calling Plaintiff’s cellular telephone, Defendant has called

   Plaintiff’s cellular telephone numbers from at least the following telephone number: 877-

   647-8551.

11. The following telephone number is one of Defendant’s many telephone numbers: 877-

   647-8551.

12. Since Defendant began placing calls to Plaintiff’s cellular telephone, Plaintiff spoke with

   Defendant several times and requested that Defendant stop calling Plaintiff’s cellular

   telephone.

13. Specifically in or around, but not limited to, 2017, Plaintiff spoke with Defendant and

   requested the calls stop.

14. Specifically on or about, but not limited to, April 25, 2018, Plaintiff spoke with Defendant

   and again requested the calls to stop.

15. Despite these requests, Defendant continued to call Plaintiff on her cellular telephone.

16. On several occasions when Plaintiff has answered Defendant’s calls, Plaintiff is met with
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   “dead air,” then Plaintiff would hear two clicks, a ring tone, and would then be connected

   to a representative.

17. Prior to calling Plaintiff’s cellular telephone, Defendant knew the number was a cellular

   telephone number.

18. All of the calls Defendants made to Plaintiff’s cellular telephone resulted in Plaintiff

   incurring a charge for incoming calls.

19. During at least one conversation, Defendant learned that Plaintiff wanted Defendant to

   stop calling Plaintiff’s cellular telephone.

20. Plaintiff is not a customer of Defendant’s and has not provided her express consent for

   Defendant to call her cellular telephone.

21. Even if at one point Defendant had Plaintiff’s permission to call Plaintiff’s cellular

   telephone numbers, Plaintiff repeatedly revoked this consent.

22. Defendant continued to call Plaintiff’s cellular telephone after Defendant knew Plaintiff

   wanted the calls to stop.

23. Within 4 years of Plaintiff filing this Complaint, Defendant used an automatic telephone

   dialing system to call Plaintiff’s cellular telephone.

24. Within 4 years of Plaintiff filing this Complaint, Defendant called Plaintiff’s cellular

   telephone in predictive mode.

25. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to store telephone numbers.

26. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call stored telephone numbers automatically.

27. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the
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   capacity to call stored telephone numbers without human intervention.

28. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call telephone numbers in sequential order.

29. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call telephone numbers randomly.

30. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone selects

   telephone numbers to be called according to a protocol or strategy entered by Defendant.

31. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone

   simultaneously calls multiple consumers.

32. While Defendant called Plaintiff’s cellular telephone, Plaintiff’s cellular telephone line

   was unavailable for legitimate use during the unwanted calls.

33. Defendant’s calls constitute calls that are not for emergency purposes as defined by 47

   U.S.C. § 227(b)(1)(A).

34. The dead air that the Plaintiff experienced during the phone calls and the voicemails she

   received is indicative of the use of an automatic telephone dialing system. This “dead air”

   is commonplace with autodialing and/or predictive dialing equipment. It indicates and

   evidences that the algorithm(s) being used by Defendant’s autodialing equipment to predict

   when the live human agents are available for the next call has not been perfected and/or

   has not been recently refreshed or updated. Thus, resulting in the autodialer placing a call

   several seconds prior to the human agent’s ability to end the current call he or she is on and

   be ready to accept the new connected call that the autodialer placed, without human

   intervention, to Plaintiff. The dead air is essentially the autodialer holding the calls it

   placed to Plaintiff until the next available human agent is ready to accept them. Should the
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      calls at issue been manually dialed by a live human being, there would be no such dead air

      as the person dialing Plaintiff’s cellular telephone would have been on the other end of the

      call the entire time and Plaintiff would have been immediately greeted by said person.

   35. As a result of Defendant’s alleged violations of law by placing these automated calls to

      Plaintiff’s cellular telephone without prior express consent, Defendant caused Plaintiff

      harm and/or injury such that Article III standing is satisfied in at least the following, if not

      more, ways:

          a. Invading Plaintiff’s privacy;

          b. Electronically intruding upon Plaintiff’s seclusion;

          c. Intrusion into Plaintiff’s use and enjoyment of her cellular telephone;

          d. Impermissibly occupying minutes, data, availability to answer another call, and

              various other intangible rights that Plaintiff has as to complete ownership and use

              of her cellular telephone;

          e. Causing Plaintiff to expend needless time in receiving, answering, and attempting

              to dispose of Defendant’s unwanted calls.

                          DEFENDANT VIOLATED THE
                    TELEPHONE CONSUMER PROTECTION ACT

   36. Defendant’s conduct violated the TCPA by:

          a. Placing non-emergency telephone calls to Plaintiff’s cellular telephone using an

              automatic telephone dialing system and/or pre-recorded or artificial voice in

              violation of 47 U.S.C. § 227 (b)(1)(A)(iii).

      WHEREFORE, Plaintiff, TYRANIKA JOHNSON, respectfully requests judgment be

entered against Defendant, WELLS FARGO BANK, N.A., for the following:

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  37. As a result of Defendant’s negligent violations of 47 U.S.C. 227(b)(1), Plaintiff is entitled

     to and requests $500.00 in statutory damages, for each and every violation, pursuant to 47

     U.S.C. 227(b)(3)(B).

  38. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. 227(b)(1),

     Plaintiff is entitled to and requests treble damages, as provided by statute, up to $1,500.00,

     for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B) and 47 U.S.C.

     227(b)(3)(C).

  39. Plaintiff is entitled to and seeks injunctive relief prohibiting such conduct in the future.

  40. Any other relief that this Honorable Court deems appropriate.



DATED: May 14, 2018                          RESPECTFULLY SUBMITTED,

                                             /s/ Samuel J. Ford
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